     Case: 1:18-cv-05909 Document #: 62 Filed: 04/19/21 Page 1 of 2 PageID #:319




                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION


 LSC DEVELOPMENT, LLC, and COBALT
 COMMERCIAL CONSTRUCTION, LLC,

                         Plaintiffs,

          v.

 STEPHEN R. OSBORNE, MICHAEL C.
 CALKA, SCOTT L. DIPARVINE, CDK
 DEVELOPMENT LLC,                                         Case No. 1:18-cv-05909
                         Defendants.
                                                          Judge Charles R. Norgle Sr.


  STEPHEN R. OSBORNE and CDK
  DEVELOPMENT LLC,

                  Counterclaim Plaintiffs and Third
                  Party Plaintiffs,
          v.

  LSC DEVELOPMENT, LLC,

                  Counterclaim Defendant,

  and

  CHRISTOPHER BARRY,

                  Third Party Defendant.


                                       JOINT STATUS REPORT

          Pursuant to the Court’s February 24, 2021 Order (Dkt. 61), Plaintiff and Counterclaim

Defendant LSC Development, LLC, Plaintiff Cobalt Commercial Construction, LLC, Third-Party

Defendant Christopher Barry, Defendants/Counterclaim Plaintiffs and Third-Party Plaintiffs

Stephen R. Osborne and CDK Development LLC, and Defendants Michael C. Calka and Scott L.

DiParvine (collectively, the “Parties”), through their respective counsel, submit this Joint Status

Report.
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    Case: 1:18-cv-05909 Document #: 62 Filed: 04/19/21 Page 2 of 2 PageID #:320




       On May 24, 2019, the Court denied Defendants’ Motion to Dismiss the Complaint. Dkt.

23. On June 21, 2019, Defendants answered Plaintiffs’ Complaint and alleged counterclaims

against LSC Development, LLC and claims against Third Party Defendant Christopher Barry. Dkt.

27. On August 7, 2019, LSC Development, LLC and Christopher Barry answered the

counterclaims and Third Party Complaint. Dkt. 34.

       Both Parties have produced significant amounts of documents during discovery. The

Parties have also resolved several discovery issues through the meet and confer process. Due to

the COVID-19 pandemic, no depositions have taken place. On February 23, 2021, the Parties

submitted a joint status report seeking to extend the deadline for depositions to occur from April

30, 2021 (see Dkt. 51) to August 20, 2021. On March 9, 2021, the Parties again discussed

scheduling of depositions. The Parties continue to confer regarding the discovery to be completed,

including the scheduling of depositions.

       In light of present travel restrictions, and depending on how the pandemic progresses, the

Parties may need to request—jointly or otherwise—further extensions of the discovery schedule

as the matter progresses.

       There are no motions pending before the Court.

 Dated: April 19, 2021                              Respectfully submitted,

 /s/ Charles B. Leuin                               /s/ Andrew S. Rosenman
 Charles B. Leuin                                   Andrew S. Rosenman
 Benesch, Friedlander, Coplan &                     David S. Levine
 Aronoff LLP                                        71 South Wacker Drive
 71 South Wacker Drive, Suite 1600                  Chicago, IL 60606
 Chicago, IL 60606                                  Phone: 312-782-0600
 Telephone: 312.212.4949                            Fax: 312-701-7711
 Facsimile: 312.767.9192                            arosenman@mayerbrown.com
 cleuin@beneschlaw.com                              dlevine@mayerbrown.com

 Attorney for Stephen R. Osborne, Michael C.        Attorneys for LSC Development, LLC,
 Calka, Scott L. DiParvine, and CDK                 Cobalt Commercial Construction, LLC, and
 Development LLC                                    Christopher Barry

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